       2:17-cr-20037-JES-JEH # 375        Page 1 of 7                                        E-FILED
                                                               Wednesday, 12 June, 2019 07:28:55 AM
                                                                       Clerk, U.S. District Court, ILCD

                          UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF ILLINOIS
                                URBANA DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
       Plaintiff,                         )
                                          )
vs.                                       )       Case No. 17-20037
                                          )
BRENDT A. CHRISTENSEN,                    )
                                          )
       Defendant.                         )

 MOTION TO CONTINUE BASED ON THE CIVIL SUIT FILED ON BEHALF OF
THE ZHANG FAMILY AGAINST THOMAS G. MIEBACH, JENNIFER R. MAUPIN
                     AND THE DEFENDANT

       NOW COMES the Defendant, BRENDT A. CHRISTENSEN, by and through his

attorneys, and moves this Court to for a continuance and in support thereof states as

follows:

       Mr. Christensen is charged with kidnapping resulting in death in violation of 18

U.S.C. § 1201(a)(1) and two counts of making false statements in violation of 18 U.S.C. §

1001(a)(2). (R. 26.) The kidnapping charge is punishable by death and the government

has filed a Notice of Intent to Seek a Sentence of Death (“NOI”). (R. 54.) One of the non-

statutory aggravating factors set forth in the NOI is “victim impact evidence.” Id. at 3.

The NOI describes the victim impact evidence as follows: “The defendant caused injury,

harm and loss to Y.Z. and loss to her family, friends, and co-workers. The injury, harm,

and loss caused by the defendant is evidenced by Y.Z.’s personal characteristics and by

the impact of her death upon her family, friends, and co-workers.” Id.

       The government has listed a number of Ms. Zhang’s family members, including

                                              1
          2:17-cr-20037-JES-JEH # 375        Page 2 of 7



her mother, father and brother, as witnesses. Presumably these family members will

provide testimony in support of the victim impact evidence non-statutory aggravating

factor.

          At 3:38 p.m. on Friday, June 7, 2019, Attorney James C. Pullos, acting as counsel

for “Daniel Deneen, as Independent Administrator of the Estate of Yingying Zhang,

Deceased,” filed a civil lawsuit in the United States District Court for the Central

District of Illinois against Thomas G. Miebach and Jennifer R. Maupin, two of the

counselors who treated Mr. Christensen at the University of Illinois Counseling Center

(“UICC”). Deneen v. Miebach et al, Case No. 19-cv-2149 (C.D. Ill.). As will be explained in

more detail below, Ms. Zhang’s family, specifically her mother, father, and brother, are

the real parties in interest in the civil lawsuit. Accordingly, the filing of the civil lawsuit

raises a host of issues that defense counsel must investigate in support of Mr.

Christensen’s mitigation case.

          Mr. Deneen is the Public Administrator for McLean County, appointed by the

governor of the State of Illinois pursuant to 755 ILCS 5/13-4. Mr. Deneen was appointed

Independent Administrator of Ms. Zhang’s estate in Ying Zhang Y v. Deneen Daniel,

Case No. 2019P000155 in the Circuit Court of the Sixth Judicial Circuit. A public

administrator handles the estate administration for those who die in Illinois without a

will or person to probate the estate. 755 ILCS 5/13-4. “When a person dies intestate,

letters of administration shall be issued in accordance with the preferences in Section 9-

3 upon petition thereof, unless the issuance of letters is excused.” 755 ILCS 5/9-2.

Section 9-3 of the Probate Act of 1975 lists the order of preference “in obtaining the

                                               2
       2:17-cr-20037-JES-JEH # 375         Page 3 of 7



issuance of letters of administration.” 755 ILCS 5/9-3. Fifth on the list of preferences is

the parents of the deceased. 755 ILCS 5/9-3(e).

       Anyone desiring to have letters of administration issued on the estate of
       an intestate decedent shall file a petition therefor in the court of the proper
       county. The petition shall state, if known: (a) the name and place of
       residence of the decedent at the time of his death; (b) the date and place of
       death; (c) the approximate value of the decedent's real and personal estate
       in this State; (d) the names and post office addresses of all heirs of the
       decedent and whether any of them is a minor or person with a disability
       and whether any of them is entitled either to administer or to nominate a
       person to administer equally with or in preference to the petitioner; (e) the
       name and post office address of the person nominated as administrator; (f)
       the facts showing the right of the petitioner to act as or to nominate the
       administrator; (g) when letters of administration de bonis non are sought,
       the reason for the issuance of the letters; and (h) unless supervised
       administration is requested, the name and address of any personal
       fiduciary acting or designated to act pursuant to Section 28-3.

755 ILCS 5/9-4.

       On June 4, 2019, a petition for letters of administration along with an affidavit of

heirship was filed in probate case 2019P000155 in Champaign County in the Sixth

Judicial Circuit. The document shows that Ms. Zhang’s parents and brother sought the

letters of administration. Additionally, as Ms. Zhang was unmarried and had no

children, under Illinois law her parents and brother will receive any assets of Ms.

Zhang’s estate. 755 ILCS 5/2-1(d), including the proceeds of the civil lawsuit filed in

this Court.

       As discussed in detail in previous pleadings concerning the admissibility of

defense expert Dr. Susan Zoline (R. 264, 289, 294, 336, and 349), and the attached

exhibits, on March 21, 2017, about eleven weeks before the kidnapping of Ms. Zhang,

Mr. Christensen walked into the UICC and reported that he had a serious substance

                                              3
       2:17-cr-20037-JES-JEH # 375         Page 4 of 7



abuse problem and that he was experiencing intrusive homicidal and suicidal ideations.

The details of Brendt’s counseling session on March 21, 2017, are set forth in the

defenses Response to Government’s Motion to Preclude the Testimony of Dr. Susan

Zoline and accompanying exhibits. (R. 289) Mr. Christensen had a second counseling

session at UICC where he again disclosed his detailed homicidal and suicidal ideations

along with his drug and alcohol addictions. Id.

       The complaint sets forth four causes of action against Miebach and Maupin.

Count I alleges Miebach and Maupin acting under color of as employees of the

University of Illinois deprived Ms. Zhang of her liberty interest of bodily integrity

under the Fourteenth Amendment to be free from bodily harm and death. (Civ. Dkt.

Entry 1 at 11) The claim asserts Mr. Christensen presented a “foreseeable threat of

harm” to students at the University and that Ms. Zhang “was a foreseeable victim and a

member of a discrete class of persons that was exposed to the actions of Defendant

Christensen.” Id. at 13. The complaint sets forth a number of allegations that Meibach’s

and Maupin’s actions in treating Mr. Christensen endangered Ms. Zhang. The

complaint further alleges “[a]s a direct and proximate result of the foregoing conduct of

Defendants, Plaintiff’s decedent Zhang suffered harm and eventual death.” Id. Finally,

the complaint alleges “Plaintiff’s decedent Zhang left surviving heirs that sustained

losses as a result of the death of Zhang, including, but not limited to, loss of

companionship, guidance, society, affection, grief, and sorrow.” Id.

       Count Two alleges the same cause of action but as a survival action against

Miebach and Maupin setting forth the same allegations as count one but adding, “[a]s a

                                              4
            2:17-cr-20037-JES-JEH # 375                  Page 5 of 7



direct and proximate result of one or more fo the aforesaid negligent acts and/or

omissions by Defendants, Plaintiff’s decedent Zhang sustained injuries of a personal

and pecuniary nature, including but not limited to, conscious pain and suffering prior

to her death, and had she survived she would have been entitled to bring an action for

those injuries she suffered and this action has survived.” Id. at 16.

            Counts Three and Four, also against Miebach and Maupin, make the same

allegations in support of a negligence—wrongful death cause of action both on behalf of

Ms. Zhang’s heirs (count three) and on behalf of Ms. Zhang (count four). Both counts

allege Miebach and Maupin “Negligently encouraged Defendant Christensen’s

homicidal ideations; and Negligently assured Defendant Christensen that his homicidal

ideations did not require immediate and long-term care” and that “as a direct and

proximate result of the aforesaid negligent acts and/or omissions by Defendants, Zhang

sustained injuries resulting in her death. Id. at 17, 18.1

            The filing of the civil complaint against Miebach and Maupin by Ms. Zhang’s

family is a major event that will potentially open up a significant amount of mitigating

evidence for Mr. Christensen that he currently has no means of securing. Extensive

discovery will almost certainly be conducted in the civil matter, including but not

limited to witness depositions, interrogatories and document production. Many of the

witnesses who will be deposed in the civil proceeding have declined to be interviewed

by Mr. Christensen’s defense team. In addition, there is almost certainly documentation




1
    Count Five alleges a count of battery against Mr. Christensen.

                                                             5
       2:17-cr-20037-JES-JEH # 375        Page 6 of 7



of internal processes and communications between staff of the counseling center and

other employees of the University of Illinois. The Court should therefore continue the

trial in this matter until discovery has been completed in the civil proceedings and Mr.

Christensen has had access to the full range of mitigating evidence that will be

developed therein.

      WHEREFORE, the Defendant respectfully requests that this Court grant a

continuance of the trial to provide Mr. Christensen adequate time to obtain mitigating

evidence developed during the discovery process in the newly filed civil lawsuit.

      Respectfully submitted,

             /s/Elisabeth R. Pollock                    /s/ George Taseff
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                                            6
       2:17-cr-20037-JES-JEH # 375        Page 7 of 7



                              CERTIFICATE OF SERVICE

      I hereby certify that on June 12, 2019, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system which will send notification of such filing

to Assistant United States Attorneys Bryan D. Freres and Eugene L. Miller and Trial

Attorney James B. Nelson. A copy was also mailed to the defendant.

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                                             7
